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 1                                UNITED STATES DISTRICT COURT
 2                            NORTHERN DISTRICT OF CALIFORNIA
 3                                        SAN JOSE DIVISION
 4
         FEDERAL TRADE COMMISSION                         Case No. 5:17-cv-00220-LHK
 5

 6                   Plaintiff,                           SUPPLEMENTAL PROTECTIVE
                                                          ORDER GOVERNING PRODUCTION
 7            v.                                          OF NON-PARTY INTEL
                                                          CORPORATION’S PROTECTED
 8                                                        MATERIALS
         QUALCOMM INCORPORATED, a Delaware
 9       corporation,
10                   Defendant.
11

12

13

14           WHEREAS, on May 1, 2017, the Court entered a Protective Order Governing
15   Confidential Material in the above-captioned case. Docket No. 81 (the “Protective Order”).
16   Section 5.4 of the Protective Order addresses the production in this case of documents produced
17   to the FTC by Non-Parties 1 during the FTC’s pre-complaint investigation (the “FTC
18   Investigation”), as well as transcripts of investigational hearings of Non-Parties during the FTC
19   Investigation and other investigative material;
20           WHEREAS, Intel Corporation (“Intel”) produced documents to the FTC during the FTC
21   Investigation, and witnesses affiliated with Intel were questioned by the FTC during
22   investigational hearings, and that material is now requested for production by the FTC under the
23   provisions of Section 5.4 of the Protective Order;
24           WHEREAS, Intel provided documents and other information to the FTC during the FTC
25   investigation under an expectation of confidentiality, and that material contains highly sensitive
26

27
     1
28    Unless otherwise stated, capitalized terms in this Order refer to the defined terms in the
     Protective Order.
      Case No. 5:17-CV-00220-LHK                  1              SUPPLEMENTAL PROTECTIVE ORDER
                                                       GOVERNING PRODUCTION OF NON-PARTY INTEL
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 1   business and trade secrets, the disclosure of which to customers, competitors, or other parties—

 2   including Defendant Qualcomm Inc. (“Qualcomm”)—would result in significant injury to Intel;

 3           WHEREAS, Section 5.4(b) of the Protective Order invites Non-Parties to seek a

 4   protective order from this Court regarding the FTC’s production of its confidential information,

 5   and Section 10.1 of the Protective Order states that its provisions should not be construed as

 6   prohibiting a Non-Party from seeking additional protections for its confidential materials;

 7           WHEREFORE, IT IS HEREBY ORDERED, that the terms of the Protective Order apply

 8   to “INTEL MATERIAL” (defined below), except as modified herein.

 9   A.      Definitions
10           1.      “INTEL MATERIAL” includes: (1) documents produced by Intel to the FTC
11   during the FTC Investigation; (2) transcripts of Intel witnesses’ 2 investigational hearing
12   testimony obtained by the FTC during the FTC Investigation; (3) the portions of any other
13   documents in the FTC’s possession, custody or control that disclose the substance of such
14   documents or transcripts and produced by the FTC pursuant to Section 5.4 of the Protective
15   Order, and (4) any other Disclosure and Discovery Materials produced by Intel or obtained from
16   Intel or Intel witnesses in this case.
17           2.      “INTEL HIGHLY CONFIDENTIAL— OUTSIDE ATTORNEYS’ EYES
18   ONLY” Information or Items: refers to any INTEL MATERIAL that satisfy the requirements of
19   HIGHLY CONFIDENTIAL—ATTORNEYS’ EYES ONLY Information or Items in Section 2.9
20   of the Protective Order.
21           3.      “INTEL PROTECTED MATERIAL” includes: INTEL MATERIAL designed as
22   either CONFIDENTIAL or INTEL HIGHLY CONFIDENTIAL—OUTSIDE ATTORNEYS’
23   EYES ONLY.
24   B.      Designation of Protected Material
25           4.      Any INTEL MATERIAL may be designated CONFIDENTIAL in accordance
26

27   2
      For the purposes of this Supplemental Order, “Intel Witnesses” shall include current and former
28   employees of Intel who offered testimony to the FTC regarding their employment at Intel as part
     of the FTC’s Investigation.
      Case No. 5:17-CV-00220-LHK                2              SUPPLEMENTAL PROTECTIVE ORDER
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 1   with the terms of the Protective Order, including Section 5.4.

 2           5.      Notwithstanding the provisions of Section 5 of the Protective Order, Intel shall

 3   designate its HIGHLY CONFIDENTIAL—ATTORNEYS’ EYES ONLY Information or Items

 4   as “INTEL HIGHLY CONFIDENTIAL— OUTSIDE ATTORNEYS’ EYES ONLY,” including

 5   without limitation designations made pursuant to Section 5.4(b); otherwise, all provisions

 6   governing the manner and timing of the designation of HIGHLY CONFIDENTIAL—

 7   ATTORNEYS’ EYES ONLY Information or Items apply to the designation of INTEL HIGHLY

 8   CONFIDENTIAL— OUTSIDE ATTORNEYS’ EYES ONLY Information or Items.

 9   C.      Access to And Use of Intel Protected Material
10           6.      Except as modified herein, INTEL MATERIAL designated CONFIDENTIAL
11   pursuant to the Protective Order shall be treated in accordance with the provisions of the
12   Protective Order that govern the treatment of CONFIDENTIAL Information or Items, including
13   without limitation Section 7.
14           7.      Unless otherwise ordered by the Court or permitted in writing by Intel, INTEL
15   HIGHLY CONFIDENTIAL— OUTSIDE ATTORNEYS’ EYES ONLY Material shall not be
16   disclosed, directly or indirectly, to anyone except the following:
17                   (a)     persons who appear on the face of the Protected Material as an author,
18   addressee, or recipient, or who are the custodians of the Protected Material;
19                   (b)     Qualcomm’s Outside Counsel of Record in this action, as well as
20   employees of said Outside Counsel of Record (1) who do not provide commercial advice (as
21   opposed to legal advice) to Qualcomm and (2) to whom it is reasonably necessary to disclose the
22   information for this litigation;
23                   (c)     The Court and its personnel;
24                   (d)     court reporters and their staff, trial consultants, and Professional Vendors
25   to whom disclosure is reasonably necessary for this litigation and who have signed the
26   “Acknowledgment and Agreement to Be Bound” attached as Exhibit A to the Protective Order;
27

28
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 1                   (e)     Experts (as defined in the Protective Order), subject to the provisions and

 2   limitations set forth in Section D herein;

 3                   (f)     witnesses as permitted in Paragraph 14 of this Order; and

 4                   (g)     FTC Commissioners and FTC counsel who have appeared in this action,

 5   as well as other Commission employees to whom it is reasonably necessary to disclose the

 6   information for this litigation.

 7           8.      Notwithstanding the provisions herein, the FTC may, subject to taking appropriate

 8   steps to preserve confidentiality, disclose and use INTEL PROTECTED MATERIAL in

 9   responding to either: (a) a formal request from either House of Congress or from any committee

10   or subcommittee of either House of Congress, consistent with applicable law, including Sections

11   6(f) and 21 of the FTC Act, 15 U.S.C. §§ 46(f) and 57b-2; or (b) a federal or state access request

12   pursuant to Commission Rules 4.11(c) and (d), 16 C.F.R. § 4.11(c) and (d). In such instances,

13   the FTC shall provide Intel with fourteen (14) days prior written notice of such disclosure unless

14   the applicable statute or regulation prohibits such notice, in which case the Commission shall

15   comply with the applicable statute or regulation.

16           9.      Each person to whom INTEL PROTECTED MATERIAL may be disclosed, and

17   who is required to sign the “Acknowledgment and Agreement to Be Bound” attached as Exhibit

18   A to the Protective Order shall do so, prior to the time such INTEL PROTECTED MATERIAL

19   is disclosed to him or her. Counsel for a Party who makes such a disclosure shall provide the

20   recipient a copy of this Order as well as the Protective Order. Counsel for a Party who makes

21   any disclosure of Protected Material shall retain each original executed acknowledgement and,

22   upon written request, shall provide copies to counsel for all other parties at the termination of

23   this action.

24   D.      Access by Experts
25           10.     Unless otherwise ordered by the Court or agreed to in writing by Intel, a
26   Receiving Party that seeks to disclose to an Expert (as defined in the Protective Order) any
27   information or item that has been designated INTEL HIGHLY CONFIDENTIAL—OUTSIDE
28
      Case No. 5:17-CV-00220-LHK                   4           SUPPLEMENTAL PROTECTIVE ORDER
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 1   ATTORNEYS’ EYES ONLY first must make a written request by email to counsel of record for

 2   Intel that (1) identifies the general categories of “INTEL HIGHLY CONFIDENTIAL—

 3   OUTSIDE ATTORNEYS’ EYES ONLY” information that the Receiving Party seeks permission

 4   to disclose to the Expert, (2) sets forth the full name of the Expert and the city and state of his or

 5   her primary residence, (3) attaches a copy of the Expert’s current resume, (4) identifies the

 6   Expert’s current employer(s), (5) identifies each person or entity from whom the Expert has

 7   received compensation or funding for work in his or her areas of expertise or to whom the Expert

 8   has provided professional services, including in connection with a litigation, at any time during

 9   the preceding five years,3 and (6) identifies (by name and number of the case, filing date, and

10   location of court) any litigation in connection with which the Expert has offered expert
11   testimony, including through declaration, report, or testimony at a deposition or trial, during the
12   preceding five years.4
13          11.     A Receiving Party that makes a request and provides the information specified in
14   the preceding paragraph may disclose the subject Protected Material to the identified Expert
15   unless, within 14 days of delivering the request, the Receiving Party receives a written objection
16   from Intel. Any such objection must set forth in detail the grounds on which it is based.
17          12.     A Receiving Party that receives a timely written objection from Intel must meet
18   and confer with Intel (through direct voice-to-voice dialogue) to try to resolve the matter by
19   agreement within seven days of the written objection. If no agreement is reached, the Party
20   seeking to make the disclosure to the Expert may file a motion as provided in Civil Local Rule 7
21   (and in compliance with Civil Local Rule 79-5, if applicable) seeking permission from the Court
22   to do so. Any such motion must describe the circumstances with specificity, set forth in detail
23   the reasons why the disclosure to the Expert is reasonably necessary, assess the risk of harm that
24
     3
25     If the Expert believes any of this information is subject to a confidentiality obligation to a third-
     party, then the Expert should provide whatever information the Expert believes can be disclosed
26   without violating any confidentiality agreements, and the Receiving Party seeking to disclose to
     the Expert shall be available to meet and confer with Intel regarding any such engagement.
27   4
       Intel will keep the Receiving Party’s written request, and all information disclosed therein,
28   confidential and will not disclose that information to anyone outside of Intel, including any other
     Party.
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 1   the disclosure would entail, and suggest any additional means that could be used to reduce that

 2   risk. In addition, any such motion must be accompanied by a competent declaration describing

 3   the parties’ efforts to resolve the matter by agreement (i.e., the extent and the content of the meet

 4   and confer discussions) and setting forth the reasons advanced by Intel for its refusal to approve

 5   the disclosure. If no agreement is reached, no INTEL HIGHLY CONFIDENTIAL—OUTSIDE

 6   ATTORNEYS’ EYES ONLY Item or Information shall be disclosed to the Expert unless or until

 7   the Court grants the Receiving Party permission to do so.

 8          13.     In any such proceeding, Intel shall bear the burden of proving that the risk of

 9   harm that the disclosure would entail (under the safeguards proposed) outweighs the Receiving

10   Party’s need to disclose the Protected Material to its Expert.

11   E.     Use of Protected Material
12          14.     Use of Designated Material at Depositions and During Trial Testimony. Except
13   as may be otherwise ordered by the Court, any person may be examined as a witness at
14   depositions, hearings and trial and may testify concerning INTEL HIGHLY CONFIDENTIAL—
15   OUTSIDE ATTORNEYS’ EYES ONLY Information or Items of which such person has prior
16   knowledge. Without in any way limiting the generality of the foregoing:
17                  (a)     A present director, officer, agent, employee and/or designated
18   Rule 30(6)(b) witness of Intel may be examined and may testify concerning INTEL HIGHLY
19   CONFIDENTIAL— OUTSIDE ATTORNEYS’ EYES ONLY Information or Items;
20                  (b)     A former director, officer, agent and/or employee of Intel may be
21   interviewed, examined and may testify concerning INTEL HIGHLY CONFIDENTIAL—
22   OUTSIDE ATTORNEYS’ EYES ONLY Information or Items of which he or she has prior
23   knowledge, including any material that refers to matters of which the witness has personal
24   knowledge, which has been produced by the FTC or Intel and which pertains to the period or
25   periods of his or her prior employment with Intel;
26                  (c)     Any other witness may be examined at deposition or otherwise testify
27   concerning any document containing INTEL HIGHLY CONFIDENTIAL—OUTSIDE
28
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 1   ATTORNEYS’ EYES ONLY Information or Items which appears on its face or from other

 2   documents or testimony to have been received from or communicated to that witness as a result

 3   of any contact or relationship with Intel, or a representative of Intel; and

 4                  (d)     At deposition, any person other than the witness, his or her attorney(s),

 5   and any person qualified to receive INTEL HIGHLY CONFIDENTIAL— OUTSIDE

 6   ATTORNEYS’ EYES ONLY Information or Items under this Order shall be excluded from the

 7   portion of the examination concerning such information, unless Intel consents to persons other

 8   than qualified recipients being present at the examination. If the witness is represented by an

 9   attorney who is not qualified under this Order to receive such information, then prior to the

10   examination, the attorney shall be requested to provide an “Acknowledgment and Agreement to

11   be Bound” attached as Exhibit A to the Protective Order, and to confirm that he or she will

12   comply with the terms of this Order and maintain the confidentiality of INTEL HIGHLY

13   CONFIDENTIAL— OUTSIDE ATTORNEYS’ EYES ONLY Information or Items disclosed

14   during the course of the examination. In the event that such attorney declines to sign the

15   “Acknowledgment and Agreement to be Bound” prior to the examination, Intel may seek a

16   protective order from the Court, in a motion to which the Parties will not object, prohibiting such

17   attorney from disclosing INTEL HIGHLY CONFIDENTIAL— OUTSIDE ATTORNEYS’

18   EYES ONLY Information or Items.

19          15.     Use of Designated Material at Trial or Hearings.                   INTEL HIGHLY

20   CONFIDENTIAL—OUTSIDE ATTORNEYS’ EYES ONLY Information or Items may not be

21   disclosed, directly or indirectly, in an open hearing without prior written consent from Intel. If

22   the disclosing party wishes to obtain that consent from Intel, it should notify Intel’s counsel of its

23   intent to disclose such material at least seventy-two (72) hours in advance of such disclosure, and

24   describe the materials to be disclosed with reasonable particularity. Otherwise, the disclosing

25   party must first request that the courtroom be sealed, and that only those authorized to review

26   INTEL HIGHLY CONFIDENTIAL—OUTSIDE ATTORNEYS’ EYES ONLY Information or

27   Items remain during the presentation of such material.

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 1           16.     Filing of Designated Material. The provisions of Civil L.R. 79-5 govern the filing

 2   of any INTEL PROTECTED MATERIAL, including without limitation the process by which

 3   Intel shall receive notice of said filing, and the process by which Intel must establish that the

 4   filed material is sealable

 5           17.     This Supplemental Protective Order incorporates by reference all provisions of

 6   the Protective Order entered by this Court on May 1, 2017 (Docket No. 81) to the extent not

 7   expressly referenced herein, except where there is a conflict between the terms of this

 8   Supplemental Protective Order and the May 1, 2017 Protective Order, in which case this

 9   Supplemental Protective Order shall govern.

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                                                                        ISTRIC
11   IT IS SO ORDERED.                                             TES D      TC
             June 28, 2017                                       TA




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12   Dated: May __, 2017                                    S




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14                                                     Honorable Nathanael M. Cousins
                                                       United States Magistrate Judge
                                                                                            Cousins
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16                                                               Jud
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